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Exhibit 1

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

STATE OF TEXAS,

Plaintiff, :
Vs. : Docket No. CA 11-1303
UNITED STATES OF AMERICA and : Washington, D.C.
ERIC H. HOLDER, in his official =: Tuesday, January 17, 2012
capacity as Attorney General of : 8:00 a.m.

the United States : Day One
Defendants, and
Wendy Davis, et al.,

Intervenor—-Defendants

A.M. SESSION
TRANSCRIPT OF BENCH TRIAL
BEFORE THE HONORABLE THOMAS B. GRIFFITH
UNITED STATES CIRCUIT JUDGE and
HONORABLES ROSEMARY M. COLLYER and BERYL A. HOWELL
UNITED STATES DISTRICT JUDGES

APPEARANCES:

For the Plaintiff: ADAM K. MORTARA, Esquire
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JUDGE GRIFFITH: Good morning.

Good morning, welcome, glad that we're all finally here
together and that I can be part of this.

I'm Judge Griffith. By statute I'm the Presiding Judge
of the Three Judge District Court. I am exercising my
authority as the Presiding Judge to delegate the running of
this event to Judge Collyer and we'll turn the time over to
her. Glad to do so.

JUDGE COLLYER: Thank you, sir.

JUDGE GRIFFITH: We're going to switch seats because
the microphone here is better for her voice.

JUDGE COLLYER: Thank you, sir.

I have half, I have half a paralyzed larynx, and so
therefore, I don't speak as loudly or as well as I use to. I
use to scare people, but I don't do it as well anymore.

The only thing, we started at eight and the clock starts
at 8:15 in case there are last minute things.

The only thing that I know of is the Court's ruling;
that is, the three of us on the motion to exclude the defense
expert witnesses.

Is there anything else that needs to be raised before we
start the evidence?

MR. MORTARA: From the State of Texas, no, Your
Honor.

JUDGE COLLYER: All right.

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MR. MELLETT: Your Honor, Tim Mellett for the United
States. There are a couple of points that I'd wish to make.

The United States and Defendant Intervenors will be
moving in exhibits in batches as opposed to individually.
We're going to make sure that we confer with the State so as to
economize on time.

The other thing that we wanted to make the Court aware
of is because of the tight time strictures that we have here,
you know, the eleven and a half hours with witnesses for time,
what we are planning on doing is that we are going to be
letting people know via time cards and stuff. I wanted to let
the Court know that what that means occasionally is we will be
handing somebody a card up here, putting it up here. I just
wanted to let the Court to know and we will try to be as
inobtrusive as possible.

JUDGE COLLYER: That's fine.
IT will say that I will be keeping track of the time and
there are no appeals.
MR. MELLETT: Thank you, Your Honor.
JUDGE COLLYER: You're welcome.
Anything else?
MR. MORTARA: Your Honor -—-
JUDGE COLLYER: Could you come forward and introduce
yourself?

MR. MORTARA: Your Honor, Adam Mortara for the State

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of Texas.

We have a few hands ups, folders with some slip sheets
for Your Honors that are some helpful laments that will
illustrate some of the key points in the case. We'll give them
to the other side. They are just listings of the incumbents in
various districts. It can get quite confusing every time a
member gets mentioned.

We saw in the Section 2 trial one of the judges would
ask what party is that member in. So we created some lament
guides.

May we hand those up?

JUDGE COLLYER: Yes, thank you.

All right, let me tell you what the Court's ruling is on
the motion to exclude expert witnesses for the defense.

T'm, I don't usually do this, but since there are three
of us who are agreeing, I'm going to actually read what we
three have agreed to. Isn't that handy.

Texas asked the Court to exclude the testimony of
defendants’ experts Dr. Theodore Arrington, Dr. Alan Lichtman,
Dr. Henry Flores and Professor J. Morgan Kousser for two
reasons.

First, Texas argues that it is not proper for an expert
witness to present an opinion on whether Texas enacted
redistricting plans with discriminatory intent because this is

an issue for the fact finder to determine.

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And second, Texas contends these individuals are not
state of mind experts and offer little more than a summary of
defendants' evidence.

The motion will be granted only in part because it
reflects a stingy reading of the Federal Rules of Evidence and
the testimony of these experts intend to offer.

Federal Rule of Evidence 702 governs the admissibility
of expert testimony. An expert is allowed to offer his opinion
if he is qualified by an, as an expert by knowledge, skill,
experience, training or education under Rule 702, and if his
testimony is relevant and reliable pursuant to Kumho Tire
versus Carmichael 526 U.S. 137.

The presumption under the federal rules is that expert
testimony is admissible. Citing Daubert v. Merrell Dow
Pharmaceutical 509 U.S. 579. Expert testimony is relevant if
it will assist the trier of fact to understand the evidence or
determine a fact in issue. That's also Daubert.

Contrary to the argument presented by Texas, Rule 704 of
the Federal Rules of Evidence expressly provides that an
opinion is not objectionable just because it embraces an
ultimate issue.

District Courts have broad discretion to admit expert
testimony citing U.S. v Miller v Bill Harbor International
Construction 608 F.3d 871. Such discretion is especially

brought here because there is no risk of jury confusion in a

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bench trial.

Texas gives a narrow reading to the expert reports in.
deposition testimony when it complains defendants' experts
merely summarize easy to understand documents such as e-mails
under Texas legislative record.

In fact, the experts have examined mountains of data on
demographics, registration records, voting patterns,
alternative redistricting plans and the like with respect to
multiple voting districts across the expanse of Texas.

To identify facts they believe especially relevant and
helpful to the Court's decision here, the e-mails and
legislative record constitute but a small part of that data.

However, Texas properly complains that experts can
rarely, if ever, offer state of mind testimony. For this
reason expert testimony will be somewhat limited.

Dr. Arrington for instance, will not be allowed to opine
on the actual intent of the Texas legislature. In his
declaration paragraph three he said but the actual intent of
the legislature is to prevent any reflection of the explosive
growth of Hispanic population and the relative decline of
voting strength of Anglo voters since the 2000 census. Close
quote.

Actual intent is usually gleaned from direct words of
intention expressed by the person or persons quoted reflecting

what is in his mind. Here, we're interested in discerning the

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purpose of the Texas redistricting plans; that is, the
reasoning behind them which is somewhat more objective than
actual intent.

These experts may testify to what they infer or deduce
were the reasons behind Texas redistricting from the
application of their expertise to a set of facts, actions and
consequences. Such testimony will reflect their own opinions
as to purpose not the quote actual close quote intention of
someone else.

Thus, to the extent the experts opine on purpose as
evidenced by actions and consequences that are deduced from
their analyses, their testimony will offer specialized
knowledge to help the trier of fact understand complex evidence
as contemplated by Rule 702 A.

The Court notes experts do not opine on how the law
applies to the facts and they will all be limited accordingly.

Dr. Arrington for instance, at paragraph 76 of his
declaration said such a justification would be a protection
against a claim of intentional discrimination under the
Arlington Heights approach to intent. And in paragraph 107
such a skewed distribution is not justified on rational grounds
as required by the Arlington Heights factors.

Texas does not challenge the expertise, credentials or
methodology of these experts beyond its two points.

This Court is well equipped to appreciate the scope of

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expert opinion. The testimony of these four experts will be
admitted at trial. The Court will make its own findings
concerning the purpose of the plans from the record as a whole.

Therefore, the motion is granted in part and denied in
part.

It's ten after. We have a whole five extra minutes.

Does anybody have anything to say or do you want to just
get going?

MR. MORTARA: I have your folders, Your Honor.

JUDGE COLLYER: Thank you, sir. You can submit the
folders.

MR. MORTARA: I have seven copies as with the
exhibits.

JUDGE COLLYER: Thank you.

MS. PERALES: Good morning, Your Honor, Nina Perales
for the Latino Task Force Defendant Intervenors.

JUDGE COLLYER: Yes.

MS. PERALES: We wanted to alert the Court to an
agreed motion that we filed yesterday evening regarding expert
witnesses and their last supplemental reports.

We've spoken to the State, cordially, and discussed some
of their more recent disclosures, those made in January and in
order to allow our experts to do their final supplemental
analysis and reports on the latter disclosed materials, we came

to an agreement that the deadline that the State can live with

